           Case 5:20-cv-02164-GW-KK Document 36 Filed 03/10/22 Page 1 of 4 Page ID #:254
Name and address:
               Christina R. Spiezia, State Bar No. 315145
                 Gordon Rees Scully Mansukhani, LLP
               5 Park Plaza, Suite 1100, Irvine, CA 92614
                      Telephone: (949) 255-6968

                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
WESTERN RIVERSIDE COUNCIL OF GOVERNMENTS, a
                                                                           CASE NUMBER
California Joint Powers Authority,
                                     Plaintiff(s),                                             5:20-cv-02164 GW (KKx)

                   v.
NATIONAL UNION FIRE INSURANCE COMPANY OF                                        APPLICATION OF NON-RESIDENT ATTORNEY
PITTSBURGH, PA. and DOES 1 through 50, inclusive,                                     TO APPEAR IN A SPECIFIC CASE
                                              Defendant(s),                                  PRO HAC VICE
INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
    Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
    supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
    days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
    completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
    Filings => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order
    (using Form G-64 ORDER, available from the Court's website), and pay the required $500 fee online at the time of filing (using a credit
    card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing will be
    grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $500 fee. (Certain
    attorneys for the United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the
    G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
VanderWeele, Meagan P.
Applicant's Name (Last Name, First Name & Middle Initial)                                         check here if federal government attorney El
Gordon Rees Scully Mansukhani LLP
Firm/Agency Name
One North Franklin                                                      (312) 619-4931                        (312) 565-6511
Suite 800                                                               Telephone Number                      Fax Number
Street Address
Chicago, IL 60606                                                                           mvanderweele@grsm.com
City, State, Zip Code                                                                              E-mail Address

I have been retained to represent the following parties:
National Union Fire Insurance Company of Pittsburgh, Pa                    Plaintiff(s) x Defendant(s)       Other:
                                                                           Plaintiff(s)    Defendant(s)      Other:
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                   Name of Court                            Date of Admission        Active Member in Good Standing? (if not, please explain)
Supreme Court of Illinois                                      11/6/2014           Yes
U.S. District Court, Northern District of IL                   4/6/2015            Yes



G-64 (09/20)                APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                            Page 1 of 3
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List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):
        Case Number                                     Title of Action                            Date of Application       Granted/ Denied?




If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:




 Attorneys must be registered for the Court's electronicfiling system to practice pro hac vice in this Court. Submission
 of this Application will constitute your registration (or re-registration) to use that system. If the Court signs an Order
 granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
 privileges in the Central District of California.

            SECTION II - CERTIFICATION

            I declare under penalty of perjury that:

             (1) All of the above information is true and correct.
             (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in
                 substantial business, professional, or other activities in the State of California.
             (3) I am not currently suspended from and have never been disbarred from practice in any court.
             (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
                 Criminal Procedure, and the Federal Rules of Evidence.
             (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
                 of this Court and maintains an office in the Central District of California for the practice of law, in
                 which the attorney is physically present on a regular basis to conduct business, as local counsel
                 pursuant to Local Rule 83-2.1.3.4.

                  Dated    0Vog /20Ra,                                  Meagan P. VanderWeele
                                                                        Applicant's Name (please type or print)

                                                                            Nteacr"11,,,AugA1ea de_
                                                                       Applicant's Signature


   G-64 (09/20)              APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                           Page 2 of 3
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SECTION III - DESIGNATION OF LOCAL COUNSEL
 Spiezia, Christina R.
 Designee's Name (Last Name, First Name th. Middle Initial)
 Gordon Rees Scully Mansukhani, LLP
 Firm/Agency Name
 5 Park Plaza                                                     (949) 255-6968                           (949) 474-2060
                                                                  Telephone Number                         Fax Number
 Suite 1100
 Street Address                                                   cspiezia@grsm.com

 Irvine, CA 92614                                                 Email Address
 City, State, Zip Code                                            315145
                                                                  Designee's California State Bar Number

I hereby consent to the foregoing designation as local counsel, and dedare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.
               Dated                                                     Cinetstma Spteztot
                                                                  Designee's Name (please type or print)

                                                                        g i/tAs iSta.zzAeL.9
                                                                 Designee's Signature

SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)




G-64 (09/20)             APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HA C VICE                      Page 3 of 3
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                        Certificate of Admission
                         To the Bar of Illinois
      I, Cynthia A. Grant, Clerk of the Supreme Court of Illinois, do hereby certify that


                                  Meagan Pearl VanderWeele


      has been duly licensed and admitted to practice as an Attorney and Counselor at
      Law within this State; has duly taken the required oath to support the
      CONSTITUTION OF THE UNITED STATES and of the STATE OF ILLINOIS, and
      also the oath of office prescribed by law, that said name was entered upon the Roll
      of Attorneys and Counselors in my office on 11/06/2014 and is in good standing, so
      far as the records of this office disclose.




                                              IN WITNESS WHEREOF, I have hereunto
                                                    subscribed my name and affixed the
                                                    seal of said Court, this 25th day of
                                                    February, 2022.


                                                           C 1 4. Circu&
                                                                                     Clerk,
                                                      Supreme Court of the State of Illinois
